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                    UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS


MATTHEW CHATHAM and
ERIN CHATHAM,

           Plaintiffs,                   No. 1:17-CV-11473-IT

v.

DANIEL J. LEWIS and
CANTERBURY VENTURES, LLC,

           Defendants.



               ORDER ON DEFENDANTS’ EMERGENCY MOTION
                  FOR CLARIFICATION OR STAY (#238)

     Previously, this court in May 2019 issued an order (“the 2019

Order”) with respect to the property at the center of this suit,

the residence at Lot 5, Amber Drive, Wrentham, Massachusetts.          See

Order at D. 169.      The court issued the 2019 Order following a

hearing convened upon learning that that the defendants had leased

the property to others for an 18-month term to run until the end

of October 2020.    To address the serious but reasonable concerns

raised by the defendants’ leasing of the property, advance notice

of which was not provided to the plaintiffs or the court, as well

as to provide a degree of stability and certainty and clear

expectations to the parties and tenants going forward, the 2019

Order inter alia directed the defendants not to:           (1) extend the

current lease of the subject property beyond its current 18-month
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term; (2) lease, rent or sell the subject property to anyone after

the current lease expires; or (3) market the subject property for

lease, rent or sale to anyone, including the current tenants.

      To be sure, the 2019 Order contemplated that the present suit

would resolve over the ensuing 18 months, but that did not happen

for a variety of reasons.        That being said, the 2019 Order also

contemplated that the defendants would take steps to ensure that

the tenants timely vacated the property at the end of the lease,

so that the property would be unencumbered as of November 1, 2020.

But that too, for reasons that are not entirely clear, did not

happen.

      Against this backdrop, the defendants moved on August 14,

2020 to vacate or modify the 2019 Order to permit the defendants

to extend the current tenants’ lease by a year, and/or to market

and sell the property.      (D. 215).    The court denied the motion (D.

234) and the defendants (1) appealed the court’s denial to the

presiding   judge,    and   simultaneously      (2)   filed   the    present

emergency motion “for clarification or stay” of this court’s denial

of the motion to vacate or modify the 2019 Order.          In their motion

the   defendants   ask   specifically     for   “clarification      of   their

continuing affirmative obligations under the May 13, 2019 Order.”

(D. 238).

      This court in response convened a hearing on the defendants’

motion on October 30, 2020. Now, based on the parties’ submissions

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and the information adduced at the hearing, the court hereby

modifies its May 13, 2019 Order as follows:

     1. The defendants may extend the lease of the current tenants

       for a period of six (6) months, from November 1, 2020

       through April 30, 2021.      The defendants may not extend the

       lease beyond April 30, 2021;

     2. In the absence of a subsequent order by this court, or an

       agreement by the parties and the court modifying the six-

       month period set forth above, the current tenants are thus

       expected to vacate the premises by the end of April 2021.

       The   defendants   shall   notify   the   court   if   the   current

       tenants vacate the premises before the end of the six-month

       period.

     3. The defendants shall take all reasonable steps to ensure

       that the property is vacant as of May 1, 2021, including,

       if necessary, by initiating summary process proceedings.

       In that regard, the defendants shall immediately notify

       the court if they come to have a basis to believe the

       premises may not be vacant as of May 1, 2021, or if legal

       process may be necessary to achieve that result;

     4. The defendants shall provide the current tenants with a

       copy of this Order within seven (7) days of its issuance.

       The defendants shall notify the court when they have done



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         so, by notifying this court’s Deputy Clerk by e-mail, with

         copy to counsel for the plaintiffs;

     5. The defendants shall on March 31, 2021 file a status report

         stating the defendants’ understanding as to whether the

         property will as anticipated be vacant as of May 1, 2021.



SO ORDERED.

                                          /s/ Donald L. Cabell
                                          DONALD L. CABELL, U.S.M.J.


DATED:    November 5, 2020




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